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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

EL-AMIN MUHAMMAD #242898,

       Plaintiff,                                   Case No. 1:16-cv-276

-vs-                                                HON. JANET T. NEFF
                                                    MAGISTRATE RAY KENT
KYLE A. NEHER, d/b/a DET KYLE
A. NEHER, MICHAEL KASHER d/b/a
DET. MICHAEL D. KASHER, OFFICER
JOHN DOE alternate transport officer(NSPD),
(MSP) OFFICER JOHN DOE,DARRYL HAIRSTON
d/b/a(MCJ) DEPUTY DARRYL HAIRSTON,
ELAINE(DOE) d/b/a RN NURSE ELAINE (DOE)
last name unknown(MCD,

       Defendants.


  DEFENDANTS KYLE A. NEHER'S AND MICHAEL D.KASHER'S BRIEF IN OPPOSITION TO
 PLAINTIFFS AMENDED MOTION FOR INIUNCTIVE RELIEF AGAINST DEFENDANTS KYLE
   A. NEHER. MICHAEL D. KASHER.AND THE NORTON SHORES POLICE DEPARTMENT

       Defendants Kyle A. Neher ("Neher") and Michael D. Kasher ("Kasher") (Neher and

Kasher may be referred to collectively as the "Defendants") by and through their attorneys

PLUNKETT COONEY, file their brief in response opposing the issuance of a preliminary

injunction under Fed.R.Civ.P. 65. Plaintiffs motion should be denied as he does not meet the

criteria for a preliminary injunction in his claims against Defendants.

                                 L PLAINTIFFS ALLEGATIONS


        Plaintiff, a prisoner in the custody of the Alger Correctional Facility, alleges on

 August 1, 2014, he was being transported by Defendants Neher and Kasher from the Ionia

 County Jail to the Muskegon County Jail. Plaintiff alleges during transport, Defendant
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Kasher negligently operated the transport vehicle at high speeds and struck a deer causing

injury to Plaintiff. [Second Amended Complaint,¶ 12].

       In addition to his claim of negligence as to Defendant Kasher, Plaintiff has also sued

Defendants Kasher and Neher in their individual capacity under 42 U.S.C. §1983 for an alleged

violation of Plaintiffs rights under the Eighth Amendment. Plaintiff claims that he advised the

Defendants he was experiencing lower back and wrist pain following the collision with the deer

and that he was denied medical attention.[Second Amended Complaint,¶ 13].

       Plaintiff requests that this Court issue a preliminary injunction and that he be awarded

the following injunctive relief:(1) an MRI of his back;(2) consultation with a surgeon qualified

to perform laser and corrective surgery;(3) reimbursement of his medical expenses;(4) laser

and other corrective surgery, plus all medical expenses;(5) medications which include, but are

not limited to, a muscle relaxant, comprehensive pain management until after surgical

corrections, along with applicable medical expenses; (6) that he be secured with a seatbelt

during any transportation to or from medical consultations, surgery, or otherwise;(7) all legal

expenses in relation to the matter, or material to this case; and (8) $2,000,000 or a punitive

treatment amount the court sees fit.

        For the reasons set forth below, Plaintiffs request must be denied.

                                         II. ARGUMENT


                A.     Legal Standards

        Preliminary injunctions are governed by Fed.R.Civ.P. 65. In determining whether to

 grant or deny a request for preliminary injunction,the court is required to consider four factors:

                1)     Whether the movant has shown a strong or substantial
                likelihood or probability ofsuccess on the merits;




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              2)      Whether the movant has shown irreparable injury;

               3)      Whether the preliminary injunction could harm third
               parties;

               4)     Whether the public interest would be served by issuing the
               preliminary injunction.

Gaston Drugs, Inc. v. Metropolitan Life Insurance Co., 823 F.2d 984,988 (6th Cir. 1987). The court

is required to make specific findings concerning each of the four factors, unless fewer factors are

dispositive of the issue. In re DeLorean Motor Co., 755 F.2d 1223,1228(6th Cir. 1985).

               A finding that the movant has not established a strong probability
               of success on the merits will not preclude a court from exercising
               its discretion to issue a preliminary injunction if the movant has,
               at a minimum,'show[n] serious questions going to the merits and
               irreparable harm which decidedly outweighs any potential harm
               to the defendant if the injunction is issued.'

Gaston Drugs, 823 F.2d at 988. The four factors applicable to decisions on preliminary

injunctions are factors to be balanced, not prerequisites that must be met. Sandison v. Michigan

High School Athletic Ass'n, Inc., 64 F.3d 1026, 1030 (6th Cir. 1995). The nature and purpose of

preliminary injunctions "is merely to preserve the relative positions of the parties until a trial on

                                                                          , 119 F.3d 393,400 (6th
the merits can be held." Six Clinics Holding Corp. v. Cafcomp Systems, Inc!

Cir. 1997).

        "A preliminary injunction is an extraordinary remedy which should be granted only if

the movant carries his or her burden of proving that the circumstances clearly demand it."

Overstreet v. Lexington-Fayette Urban County Gov't, 305 F.3d 566, 573 (6th Cir.2002). "[T]he

proof required for the plaintiff to obtain a preliminary injunction is much more stringent than

the proof required to survive a summary judgment motion!' Leary v. Daeschner, 228 F.3d 729,

739(6th Cir.2000). Plaintiff has neither alleged facts nor submitted evidence warranting an

immediate injunction in this matter. Indeed, Plaintiff has made no attempt to apply the


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above factors to his situation altogether. For those reasons alone Plaintiffs motion must be

denied.

       Additionally, "[f]or injunctive relief, the plaintiff[] must show that the defendants

were, at the time of the suit, 'knowingly and unreasonably disregarding an objectively

intolerable risk of harm and that they will continue to do so.' " Laube v. Haley, 234

F.Supp.2d 1227, 1242 (M.D.Ala.2002), quoting Farmer v. Brennan, 511 U.S. 825,846(1994).

It is well-established that "[a] preliminary injunction cannot be issued based on past harm.

The purpose of a preliminary injunction is to prevent future irreparable harm." Fisher v.

Goord, 981 F.Supp. 140, 168 (W.D.N.Y.1997). Here, Plaintiff is no longer in the custody of

the Norton Shores Police Department. Thus, there is no harm that the Defendants,

employed with the Norton Shores Police Department, could continue to allegedly deny

treatment to Plaintiff and therefore his request must be denied.

          Based on the above standards, a preliminary injunction should not issue in this case.

Plaintiff is unlikely to succeed on the merits of his case and has not demonstrated irreparable

harm if an injunction is not issued. These Defendants, on the other hand, will suffer significant

harm,as will innocent third parties and the general public, should this Court issue an injunction.

Accordingly, Plaintiffs motion must be denied.

                 B.     Plaintiff does not meet the criteria for a preliminary
                        injunction.

          In the present case relative to Plaintiffs claim against Defendants, a preliminary

 injunction should not issue as Plaintiff does not meet the criteria for issuance.




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               1.     There is not a strong likelihood of success on the merits.

       Plaintiffs claims against Defendants Neher and Kasher are not likely to succeed on the

merits. Based on Plaintiffs own allegations, his claims do not rise to the level of a violation of a

constitutional right nor do they allege facts in avoidance of governmental immunity.

       As to Plaintiffs claims for deliberate indifference to Plaintiffs serious medical needs,

defendants in the right factual scenario possibly could violate a plaintiffs rights if they

"intentionally delayed or denied access to medical care for a serious medical need."

Blackmore v. Kalamazoo County, 390 F.3d 890-95 (6th Cir. 2004). However, Plaintiff has

failed to plead the requisite objective and subjective components of such a claim and is

therefore unlikely to succeed on the merits.

        The objective component of a Fourteenth Amendment deliberate indifference cause

of action requires the existence of a "sufficiently serious" medical need which posed a

substantial risk of serious harm to the Plaintiff. Id. That element would be established only

when there is medical proof of a condition, or where the need for medical care was so

obvious that a "layman would readily discern" the need for prompt medical attention by

health care providers. Id. at 899.

        In order to plead the subjective component of a deliberate indifference cause of

action, a plaintiff must plead and ultimately prove defendants had a "sufficiently culpable

state of mind in denying medical care." Id. at 895. Plaintiff must plead and prove

 Defendants were "aware of facts from which the inference could be drawn that a

substantial risk of serious harm existed, and the official actually drew that inference but

 deliberately disregarded the risk." Id. at 896, see also Spears v. Ruth, 589 F.3d 249, 255 (6th

 Cir. 2009).



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        All record evidence establishes that the underlying collision with the deer was indeed

minor. As evidenced in the State of Michigan Traffic Report, it was reported there was no

hazardous action on behalf of the driver, there were no injuries to the driver or any of the

passengers, no airbag deployment,and only functional damage of the police cruiser,leaving

it drivable. And contrary to Plaintiffs assertion, it was reported that all passengers,

including Plaintiff, were restrained by a shoulder and lap belt. See Exhibit A Plaintiff has

submitted no medical records documenting his claims of a serious medical condition. Thus, his

claim for deliberate indifference is conclusory and unsubstantiated.

       Moreover, Plaintiff acknowledges he was seen by a nurse at the Muskegon County Jail

after the subject collision.[Second Amended Complaint, ¶ 19]. And Plaintiff does not allege any

delay in treatment by Kasher or Neher resulted in additional injury. He alleges only that he

was experiencing pain. "Plaintiffs claim only that Burgess endured hours of pain, which is

insufficient to establish his claim." Burgess v. Fischer, 735 F.3d 462, 477 (6th Cir. 2013).   For

those reasons, Plaintiffs claims for deliberate indifference are unlikely to succeed on the merits.

       Likewise, Plaintiffs claim of negligence against Kasher is also unlikely to succeed on the

merits. Liability could only be imposed based upon a claim for gross negligence. A

Michigan governmental employee can be subjected to liability in avoidance of

governmental immunity if that employees conduct is both (1) grossly negligent and (2)

"the proximate cause" of an injury. M.C.L. §691.1407(2)(Z). As Michigan courts have

consistently interpreted the Michigan Governmental Immunity Act, the Michigan

Legislature was clear when it required that Plaintiff plead, and ultimately prove that the

governmental employee's actions were "the" proximate cause of the injury. This means the

actions by Kasher would have to be "the most immediate, efficient, and direct cause" of the



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injury. See Robinson v. Detroit, 462 Mich. 439, 462, 613 N.W.2d 307 (2000), Beals v.

Michigan,497 Mich. 363, 366,871 N.W.2d 5, 7(2015).

       Plaintiff does not assert any claims based upon gross negligence, nor could he. He

alleges only simple negligence against Defendant Kasher.      As Plaintiffs second amended

complaint makes clear, the accident with the police squad car was caused when it struck a

deer. Pursuant to Michigan courts' interpretation of the Governmental Immunity Act, the

manner of driving the squad car would not be the proximate cause, i.e., the most

immediate, efficient, and direct cause of the injury. See Beals, supra (failure of lifeguard to

intervene and save individual with learning disability not the "immediate, efficient, and

direct cause" of the death - the reason the individual decedent remained submerged at the

end of the pool without resurfacing was the more immediate, efficient, and direct cause of

the death).

       Reading Plaintiffs second amended complaint, and the allegations set forth therein,

it was the deer crossing the highway in front of the squad car which prevents the manner in

which the squad car allegedly was being operated from being "the" proximate cause of the

accident. This is also confirmed by the Michigan Traffic Crash Report which reports there

was no hazardous action by Defendant Kasher and that the most harmful event of the

incident to be the animal (i.e., the deer). See Exhibit A.

        For the above reasons, Plaintiff cannot show a strong likelihood that he would succeed

on the merits.

                 2.   Plaintiff does not meetthe criteria ofirreparable injury.

        When determining the propriety of a preliminary injunction, the most significant

issue before the Court is whether a plaintiff has demonstrated that he will suffer immediate



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and irreparable harm unless the preliminary injunction issues. "The key word in this

consideration is irreparable. Mere injuries, however substantial, in terms of money, time and

energy necessarily expended in the absence of a stay, are not enough. The possibility that

adequate compensatory or other corrective relief will be available at a later date,in the ordinary

course of litigation, weighs heavily against a claim of irreparable harm."Sampson v. Murray,415

U.S. 61,90,94 S.Ct. 937, 39 L.Ed.2d 166 (1974), quoting Virginia Petroleum Jobbers Ass'n v. FPC,

259 F.2d 921, 924 (D.C.1958). In short, "[a] plaintiffs harm from the denial of a preliminary

injunction is irreparable if it is not fully compensable by monetary damages!' Overstreet, 305

F.3d at 578. In evaluating the harm facing the Plaintiff, the Court must evaluate three factors:

"(1) the substantiality of the injury alleged, (2) the likelihood of its occurrence, and (3) the

adequacy of the proof provided." Ohio ex rel. Celebrezze v. Nuclear Regulatory Comm'n, 812 F.2d

288,290(6th Cir.1987).

        In this case, Plaintiff has failed to present any evidence demonstrating that he would

sustain irreparable harm if his injunction request were not granted. The injuries alleged by

Plaintiff, which are alleged to be only pain, are unsubstantiated by Plaintiff. And the harm

claimed by Plaintiff cannot be irreparable since Plaintiff seeks monetary damages as a form

of relief. Moreover, as provided for above, Plaintiff is no longer in custody of Defendants but in

the custody of the Alger Correctional Facility. Thus, there is no harm that the alleged denial of

 such medical treatment would continue. Accordingly, the Court must find that Plaintiff will not

 suffer irreparable injury.

                3.      Balance of hardship does not weigh heavier on Plaintiff.

        Plaintiff has failed to present any evidence as to whether the issuance would harm any

 third parties in his request for injunctive relief. But the taxpayers of this state are the persons



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who would incur the hardship of paying for such unwarranted relief. And because Plaintiff has

failed to substantiate any of his alleged injuries and failed to provide any proof that he will likely

succeed on the merits or suffer irreparable harm should the injunctive relief be denied, granting

a request for injunctive relief should be denied, as it would impose great hardship on the

taxpayers. Thus, it is without question the balance of hardship to Plaintiff for denial of the

preliminary injunction does not outweigh the hardship to the taxpayers that would be paying

for Plaintiff's request.

                4.         The public interest would not be served by issuing the preliminary
                           injunction.

        As argued above in section 3, the harm to third parties, the taxpayers of this state, is that

they ultimately pay for Plaintiff's and other prisoners' treatment. Similarly, the public interest
                                                                                              is
would not be served by the issuance of the preliminary injunction. Plaintiff, by this motion,
                                                                                                    in
asking the court to order Defendants provide medical treatment without providing any basis
                                                                                    treatment of
fact for the need of such. Clearly, the taxpayers and public interest would support
                                                                                          of
serious medical needs. However, in the present case, to grant Plaintiffs request by means

granting this motion for preliminary injunction for his request for medical treatment, which

 have not been proven whatsoever, would not be in the public interest.

                                          III. CONCLUSION


         Plaintiff has neither alleged facts nor submitted evidence warranting an immediate

 injunction in this matter. Plaintiff has made no attempt to apply the above factors to his

 situation. The evidence submitted by Defendants (Exhibit A) indicates that the subject

 collision with the deer resulted in no injuries to Plaintiff. Plaintiff has failed to present any




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evidence showing he has a substantial likelihood of success on the merits or that he will

suffer irreparable harm absent an immediate injunction.

        Accordingly, Plaintiff's amended motion for injunctive relief should be denied as Plaintiff

cannot meet the criteria for granting such motion. Additionally, any request for relief by Plaintiff

against the Norton Shores Police Department should fail, as the Norton Shores Police

Department was dismissed from this action and is no longer a party to this action. "It is

elementary that one is not bound by a judgment in personam resulting from litigation in which

he is not designated as a party or to which he has not been made a party by service of process."

Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 110, 89 S.Ct. 1562, 23 L.Ed.2d 129

(1969)(citation omitted). For these reasons, as discussed above, Defendants request that this

court deny Plaintiffs amended motion for injunctive relief.

                                              Respectfully submitted,

DATED: June 6, 2018                           PLUNKETT COONEY


                                              BY: /s/Lisa A. Hall
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